                        UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA

 AMY BRYANT, MD,                           )
                                           )
        Plaintiff,                         )
                                           )
 v.                                        )
 JOSHUA H. STEIN, in his official          )
                                                   Case No.: 1:23-cv-00077-WO-LPA
 capacity as Attorney General for the      )
 State of North Carolina, et al.,          )
                                           )
        Defendants.                        )
                                           )
                                           )


                       PLAINTIFF’S RESPONSE TO MOTION
                        TO INTERVENE AS DEFENDANTS

       Dr. Bryant does not oppose the motion to intervene filed by Philip E. Berger and

Timothy K. Moore (Doc. 29), and will not respond at this time to their misplaced arguments

regarding the merits. Dr. Bryant respectfully requests that the Court set intervenors’ time

to file their answer or motion to dismiss no later than March 24, 2023, in order to align the

response times of all defendants who have yet to respond to the complaint.




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                                   Respectfully submitted,

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                                   the firm




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                            CERTIFICATE OF SERVICE

       I hereby certify that on February 23, 2023, the foregoing pleading was filed via the

Court’s CM/ECF System, and a copy of the foregoing document was served upon all

registered counsel of record.

                                              /s/ Chelsea Corey
                                              Chelsea Corey (NC Bar No. 48838)
                                              Counsel for Plaintiff




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